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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ANDREW PERRONG,

                        Plaintiff,

                v.                                        Civil Action No. 20-05844-MSG

 FRONTIER UTILITIES NORTHEAST LLC
 and NEXT GENERATION ENERGY, INC.,

                        Defendants.


       [PROPOSED] ORDER GRANTING DEFENDANT FRONTIER UTILITIES
          NORTHEAST LLC’S MOTION FOR LEAVE TO FILE SUR-REPLY

       AND NOW, this _____ day of ______________, 2021, upon consideration of Defendant

Frontier Utilities Northeast LLC’s Motion for Leave to File a Sur-Reply in opposition to Plaintiff’s

Motion for Preliminary Approval of Class Action Settlement, it is hereby ORDERED that the

Motion for Leave to File a Sur-Reply is GRANTED.



                                                     ______________________________
                                                     The Honorable Mitchell S. Goldberg
                                                     United States District Court Judge
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ANDREW PERRONG,

                   Plaintiff,

           v.                                           Civil Action No. 20-05844-MSG

FRONTIER UTILITIES NORTHEAST LLC
and NEXT GENERATION ENERGY, INC.,

                   Defendants.


          DEFENDANT FRONTIER UTILITIES NORTHEAST LLC’S
               MOTION FOR LEAVE TO FILE SUR-REPLY

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                                    Counsel for Defendant
                                Frontier Utilities Northeast LLC
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        Pursuant to this Court’s Policies and Procedures for Civil Matters ¶ 10, Defendant Frontier

Utilities Northeast LLC (“Frontier”) respectfully moves this Court to issue an order permitting

Frontier file a Sur-Reply in Opposition to Plaintiff’s Motion for Preliminary Approval, in the form

attached hereto as Exhibit 1, in order to respond to new legal arguments and factual assertions

raised in Plaintiff’s Reply In Support of Motion for Preliminary Approval of a Class Action

Settlement [ECF No. 23] (“Reply”). In support thereof, Frontier states as follows:

        On April 2, 2021, Plaintiffs filed their Motion for Preliminary Approval of a Class Action

Settlement [ECF No. 15] despite knowing full well that Frontier stated that they should “cease and

desist from any effort to seek court approval of the Settlement Agreement.” ECF No. 18-5 (Opp.

to Mot. for Preliminary Approval, Ex. E, Notice of Breach dated Mar. 29, 2021 at 4); see also ECF

No. 16-2 (Mot. to Strike, Ex. B, Email from M. Blythe) (“[I]t is Frontier’s position that the Class

Action Settlement Agreement and Release cannot be presented to the Court for approval.”).

Notwithstanding this, Plaintiffs and Joint Counsel filed a Motion for Preliminary Approval that

failed to address (other than an oblique reference in one footnote) Frontier’s position that the

purported settlement agreement for which Plaintiffs sought approval was unenforceable. ECF No.

15 at 2 n.2.

        Now, Plaintiffs and Joint Counsel have filed a 10-page Reply and two declarations from

lead counsel and Mr. Frey addressing the arguments that they already knew Frontier would make

in opposition to the motion for preliminary approval. ECF No. 23. Among other things, the Reply

argues that: (i) Plaintiffs and Joint Counsel made no fraudulent misrepresentations or omissions

with respect to Mr. Frey’s arrest and indictment on child pornography charges to induce the

purported settlement; (ii) Plaintiffs and Joint Counsel had no duty to disclose a fact that was clearly
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material to Frontier’s willingness to settle to Frontier; and (iii) Joint Counsel’s duty of candor

would not arise unless and until Frontier asked if Mr. Frey was a child pornographer.

       Those and other new factual assertions and legal arguments made by Plaintiffs for the first

time in their Reply were not previously addressed in Frontier’s Opposition to Motion for

Preliminary Approval. Pursuant to Paragraph 10 of this Court’s Policies and Procedures for Civil

Matters, leave to file a sur-reply “will only be permitted when necessary to rebut an issue or factual

assertion not covered by the party’s original submission.” Frontier should be given an opportunity

to respond to these new legal arguments and factual assertions raised in the Reply.

       For the foregoing reasons, Frontier respectfully seeks leave to file a Sur-Reply in

Opposition to Plaintiff’s Motion for Preliminary Approval in order to address the new legal issues

and factual assertions in the Reply, as well as any other relief that this Court deems just and proper.

Dated: May 18, 2021                        Respectfully submitted,

                                           /s/ Michael P. Daly
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                        Frontier Utilities Northeast LLC




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                               CERTIFICATE OF SERVICE

       I certify that, on the date set forth below, I served the foregoing document on all counsel

of record who have entered an appearance via the Court’s CM/ECF system.


Dated: May 18, 2021                          By: /s/ Michael P. Daly
                                                 Michael P. Daly
